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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   ROLAND MA,                                               CASE NO. C19-1112-JCC
10                               Plaintiff,                   ORDER
11             v.

12   DEPARTMENT OF EDUCATION, and
     UNIVERSITY OF SOUTHERN
13   CALIFORNIA,
14                               Defendants.
15

16             This matter comes before the Court on Plaintiff’s Motion to Stay the Execution of the
17   Contempt Judgment (Dkt. No. 64). The Court DENIES the motion for the reasons explained
18   herein.
19             On April 29, 2020, the Court found civil contempt sanctions warranted against Plaintiff
20   for repeated and apparently willful violations of the parties’ settlement agreement (Dkt. No. 62).
21   Defendant moved for an emergency appeal of the Court’s order in the United States Court of
22   Appeals for the Ninth Circuit and moved this Court to stay the contempt judgment. (Dkt. Nos.
23   63, 64.) The Court of Appeals has since denied that motion and the Court has received
24   unchallenged reports from Defendants that Plaintiff continues to be in contempt. (See Dkt. Nos.
25   66, 67.) Plaintiff’s motion provides the Court no cognizable basis to stay the contempt judgment.
26             For the foregoing reasons, Plaintiff’s Motion to Stay the Execution of the Contempt

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 1   Judgment (Dkt. No. 64) is DENIED. Sanctions will continue to accrue as articulated in the

 2   Court’s April 20, 2020 order (Dkt. No. 62).

 3          DATED this 16th day of September 2020.




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                                                        John C. Coughenour
 7                                                      UNITED STATES DISTRICT JUDGE
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     ORDER
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